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     Attorneys for Plaintiff
13   OWEN DIAZ
14                                  UNITED STATES DISTRICT COURT
15                                 NORTHERN DISTRICT OF CALIFORNIA
16
17                                                  Case No. 3:17-cv-06748-WHO
     DEMETRIC DI-AZ, OWEN DIAZ, and
18   LAMAR PATTERSON,                               SUPPLEMENTAL DECLARATION OF
                                                    CIMONE NUNLEY IN SUPPORT OF
19                   Plaintiffs,
                                                    PLAINTIFF’S ADMINISTRATIVE
20          v.                                      MOTION TO FILE UNDER SEAL

21   TESLA, INC. dba TESLA MOTORS, INC.;            Date: May 11, 2020
     CITISTAFF SOLUTIONS, INC.; WEST                Time: 10:00 a.m.
22   VALLEY STAFFING GROUP;
     CHARTWELL STAFFING SERVICES, INC.;             Courtroom: 2, 17th Floor
23   and DOES 1-50, inclusive,                      Judge: Hon. William H. Orrick

24          Defendants.                             Trial Date: June 8, 2020
                                                    Complaint filed: October 16, 2017
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27
28



                                                1
     DECLARATION OF CIMONE NUNLEY ISO PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER
                                          SEAL
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     I, CIMONE A. NUNLEY, hereby declare:
 1
 2          1.      I am an attorney licensed to practice law in the State of California. I am an

 3   attorney with the law firm of California Civil Rights Law Group, attorneys of record for Plaintiff
 4
     Owen Diaz in this action. I submit this Supplemental Declaration in support of Plaintiff’s
 5
     Motions in Limine nos. 1 through 6. I have personal knowledge of the facts stated herein and if
 6
 7   called upon to testify, I could and would competently testify thereto, except as to those matters

 8   that are stated upon information and belief.
 9          2.      Attached hereto and marked as Supplemental Exhibit 1 are true and correct copies
10
     of various excerpts from Volume I of the deposition of Plaintiff Owen Diaz. Defendant Tesla,
11
     Inc. (hereinafter “Defendant”) marked this document as “confidential” pursuant to the Protective
12
13   Order and the document should therefore be sealed pursuant to this Order.

14          3.      Attached hereto and marked as Supplemental Exhibit 2 is a true and correct copy
15   of a document produced by Defendant in discovery and Bates stamped TESLA-0000004 to
16
     TESLA-0000008. Defendant marked this document as “confidential” pursuant to the Protective
17
     Order and the document should therefore be sealed pursuant to this Order.
18
19          4.      Attached hereto and marked as Supplemental Exhibit 3 is a true and correct copy

20   of a document produced by Defendant in discovery and Bates stamped TESLA-0000732 to
21
     TESLA-0000734. Defendant marked this document as “confidential” pursuant to the Protective
22
     Order and the document should therefore be sealed pursuant to this Order.
23
24          5.      Attached hereto and marked as Supplemental Exhibit 4 are true and correct copies

25   of documents produced by former Defendant nextSource, Inc. (hereinafter “nextSource”) in
26   discovery and Bates stamped NS000012 to NS000013. nextSource marked this document as
27
     “confidential” pursuant to the Protective Order and the document should therefore be sealed
28
     pursuant to this Order.

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     DECLARATION OF CIMONE NUNLEY ISO PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER
                                          SEAL
            Case 3:17-cv-06748-WHO Document 188-2 Filed 04/20/20 Page 3 of 5




            6.     Attached hereto and marked as Supplemental Exhibit 5 is a true and correct copy
 1
 2   of a document produced by nextSource in discovery and Bates stamped NS000136 to NS000137.

 3   nextSource marked this document as “confidential” pursuant to the Protective Order and the
 4
     document should therefore be sealed pursuant to this Order.
 5
            7.     Attached hereto and marked as Supplemental Exhibit 6 is a true and correct copy
 6
 7   of a document produced by Defendant in discovery and Bates-stamped TESLA-0000125 to

 8   TESLA-0000130. Defendant marked this document as “confidential” pursuant to the Protective
 9   Order and the document should therefore be sealed pursuant to this Order.
10
            8.     Attached hereto and marked as Supplemental Exhibit 7 are true and correct copies
11
     of documents produced by Defendant in discovery and Bates-stamped TESLA-0000702 to
12
13   TESLA-0000703. Defendant marked this document as “confidential” pursuant to the Protective

14   Order and the document should therefore be sealed pursuant to this Order.
15          9.     Attached hereto and marked as Supplemental Exhibit 8 are true and correct copies
16
     of documents produced by Defendant in discovery and Bates-stamped TESLA-0000127 to
17
     TESLA-0000128. Defendant marked this document as “confidential” pursuant to the Protective
18
19   Order and the document should therefore be sealed pursuant to this Order.

20          10.    Attached hereto and marked as Supplemental Exhibit 9 is a true and correct copy
21
     of a document produced by Defendant in discovery and Bates-stamped TESLA-0000664.
22
     Defendant marked this document as “confidential” pursuant to the Protective Order and the
23
24   document should therefore be sealed pursuant to this Order.

25          11.    Attached hereto and marked as Supplemental Exhibit 10 is a true and correct copy
26   of a document produced by Defendant in discovery and Bates stamped TESLA-0000319.
27
     Defendant marked this document as “confidential” pursuant to the Protective Order and the
28
     document should therefore be sealed pursuant to this Order.

                                                 3
     DECLARATION OF CIMONE NUNLEY ISO PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER
                                          SEAL
            Case 3:17-cv-06748-WHO Document 188-2 Filed 04/20/20 Page 4 of 5




            12.    Attached hereto and marked as Supplemental Exhibit 11 is a true and correct copy
 1
 2   of a document produced by Defendant in discovery and Bates-stamped TESLA-0000320.

 3   Defendant marked this document as “confidential” pursuant to the Protective Order and the
 4
     document should therefore be sealed pursuant to this Order.
 5
            13.    Attached hereto and marked as Supplemental Exhibit 12 is a true and correct copy
 6
 7   of a document produced by Defendant in discovery and Bates-stamped TESLA-0000612.

 8   Defendant marked this document as “confidential” pursuant to the Protective Order and the
 9   document should therefore be sealed pursuant to this Order.
10
            14.    Attached hereto and marked as Supplemental Exhibit 13 are true and correct
11
     copies of documents produced by Defendant in discovery and Bates-stamped TESLA-0000336
12
13   to TESLA0000338. Defendant marked this document as “confidential” pursuant to the Protective

14   Order and the document should therefore be sealed pursuant to this Order.
15          15.    Attached hereto and marked as Supplemental Exhibit 14 are true and correct
16
     copies of documents produced by Defendant in discovery and Bates stamped TESLA-0000505 to
17
     TESLA0000506. Defendant marked this document as “confidential” pursuant to the Protective
18
19   Order and the document should therefore be sealed pursuant to this Order.

20          16.    Attached hereto and marked as Supplemental Exhibit 15 is a true and correct copy
21
     of a document produced by Defendant in discovery and Bates stamped TESLA-0000557.
22
     Defendant marked this document as “confidential” pursuant to the Protective Order and the
23
24   document should therefore be sealed pursuant to this Order.

25          17.    Attached hereto and marked as Supplemental Exhibit 16 is a true and correct copy
26   of a document produced by Defendant in discovery and Bates stamped TESLA-0000704 to
27
     TESLA-0000705. Defendant marked this document as “confidential” pursuant to the Protective
28
     Order and the document should therefore be sealed pursuant to this Order.

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     DECLARATION OF CIMONE NUNLEY ISO PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER
                                          SEAL
            Case 3:17-cv-06748-WHO Document 188-2 Filed 04/20/20 Page 5 of 5




            18.    Attached hereto and marked as Supplemental Exhibit 17 are true and correct
 1
 2   copies of documents produced by Defendant in discovery and Bates stamped TESLA-0000708 to

 3   TESLA0000709. Defendant marked this document as “confidential” pursuant to the Protective
 4
     Order and the document should therefore be sealed pursuant to this Order.
 5
            19.    Attached hereto and marked as Supplemental Exhibit 18 are true and correct
 6
 7   copies of documents produced by Defendant in discovery and Bates stamped TESLA0000741 to

 8   TESLA-0000743. Defendant marked this document as “confidential” pursuant to the Protective
 9   Order and the document should therefore be sealed pursuant to this Order.
10
11
            I declare under penalty of perjury under the laws of the United States of America that the
12
     foregoing is true and correct. Executed on April 20, 2020 in Sacramento, California.
13
14
15
     DATED: April 20, 2020                By:    ______________ ____________
16                                               Lawrence A. Organ, Esq.
17                                               Navruz Avloni, Esq.
                                                 J. Bernard Alexander, Esq.
18                                               Cimone A. Nunley, Esq.
                                                 Attorneys for Plaintiff
19
                                                 OWEN DIAZ
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     DECLARATION OF CIMONE NUNLEY ISO PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER
                                          SEAL
